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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

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14   UNITED STATES OF AMERICA,                       ) NO. CR 3:20-CR-00257-WHO
                                                     )
15           Plaintiff,                              ) MOTION TO UNSEAL
                                                     )
16      v.                                           )
                                                     )
17   WING LOK WONG,                                  )
                                                     )
18           Defendant.                              )
                                                     )
19

20           On July 6, 2020, defendant Wong pled guilty before this Court to a two-count Information. Dkt
21 11. At the request of the government, Exhibit A of the Plea Agreement, containing the factual basis for

22 the plea, was filed under seal because the government’s investigation of the facts underlying defendant

23 WONG’s conduct and potential criminal conduct by other individuals was ongoing. Except for

24 relatively minor redactions related to an ongoing investigation, there is no longer an investigative need

25 by the government to keep defendant WONG’s entire factual admissions in Exhibit A under seal. The

26 undersigned Assistant U.S. Attorney consulted with counsel for defendant WONG, who has no
27 objection to unsealing Exhibit A with limited redactions.

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     MOTION TO UNSEAL/PROPOSED ORDER 1
     CR 3:20-cr-00257-WHO
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 1          Therefore, the government respectfully requests that this Court order that Exhibit A to defendant

 2 WONG’s plea agreement be unsealed with limited redactions. To effectuate this unsealing with limited

 3 redactions, the government attaches hereto as Exhibit 1 to the instant Motion to Unseal a partially

 4 redacted version of Exhibit A to the Plea Agreement under seal.

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 6

 7                                                              STEPHANIE M. HINDS
                                                                United States Attorney
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 9
     Dated: March 16, 2023                                      /s/ Christiaan Highsmith
10                                                              CHRISTIAAN H. HIGHSMITH
                                                                Assistant United States Attorney
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12 For good cause shown, it is SO ORDERED that Exhibit 1 to the government’s Motion to Unseal is
   hereby unsealed.
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15 Dated:      March 17, 2023
                                                                HONORABLE WILLIAM H. ORRICK
16                                                              United States District Court Judge

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     MOTION TO UNSEAL/PROPOSED ORDER 2
     CR 3:20-cr-00257-WHO
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